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18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19

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21     UNITED STATES OF AMERICA,
                                                     Case No. 3:22-cv-3070-TSH
22                          Plaintiff,
                                                     STIPULATED REQUEST FOR ORDER
23                                                   EXTENDING BRIEFING DEADLINES
                    v.
24                                                   ON X CORP.’S MOTION FOR
       TWITTER, INC., a corporation,                 PROTECTIVE ORDER & RELIEF
25                                                   FROM CONSENT ORDER
                            Defendant.
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     STIPULATED REQUEST FOR ORDER EXTENDING BRIEFING DEADLINES
     Case No. 3:22-cv-3070-TSH
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 1          Pursuant to Local Rules 6-1 and 6-2, the parties stipulate and respectfully request that the Court

 2 enter the attached proposed order extending the briefing deadlines related to X. Corp.’s Motion for

 3 Protective Order & Relief from Consent Order, ECF No. 17.

 4          On May 25, 2022, Plaintiff the United States of America filed the Complaint in this action, which

 5 alleged that Defendant Twitter, Inc. had violated a 2011 Federal Trade Commission (“FTC”)

 6 administrative order and the FTC Act by misrepresenting the extent to which Twitter maintained and

 7 protected the privacy of nonpublic consumer information. ECF No. 1. On May 26, 2022, this Court entered

 8 a Stipulated Order for Civil Penalty, Monetary Judgment, and Injunctive Relief (“Stipulated Order”) to

 9 resolve the claims for civil penalties and injunctive relief set forth in the Complaint. ECF No. 11.

10          On July 13, 2023, X Corp., successor in interest to Defendant Twitter, Inc. (“X Corp.”), filed a

11 motion to terminate, modify, or stay enforcement of the Stipulated Order, and for a protective order staying

12 the Notice of Deposition of Elon Musk issued by the FTC. See ECF No. 17 (“X Corp’s Motion”). The

13 United States Department of Justice did not have an opportunity to meet and confer with counsel for X.

14 Corp. prior to the filing of the X. Corp.’s Motion. Under Local Rule 7-3, the United States’ opposition to

15 that motion is due by July 27, 2023, and X Corp.’s reply is due by August 3, 2023.

16          The parties have since conferred regarding these deadlines and agree that additional time would

17 be appropriate to enable thorough briefing of the issues raised by X Corp.’s motion. See Decl. of Zachary

18 L. Cowan, attached. Pursuant to that agreement, the parties stipulate and jointly request that: (1) the United
19 States’ deadline to file an opposition to X Corp.’s motion be extended to September 11, 2023 (60 days

20 from X Corp.’s motion); (2) X Corp.’s deadline to file a reply be extended to October 11, 2023 (30 days

21 from the opposition); and (3) the Court hear X. Corp’s Motion at a time that is convenient for the Court

22 thereafter. Counsel for the FTC have agreed that the FTC will await the Court’s decision on X Corp’s

23 motion before taking Mr. Musk’s deposition or taking further administrative action under the Stipulated

24 Order or the FTC administrative order.

25          The parties have not previously requested any time modifications in this case, and no case schedule

26 in this matter will be affected by the time modifications requested here.

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     STIPULATED REQUEST FOR ORDER EXTENDING BRIEFING DEADLINES
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 1   Dated: July 19, 2023                           Respectfully submitted,

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18                                           FILER ATTESTATION

19          Pursuant to Local Rule 5-1(h)(3), I hereby attest that the other listed signatory on whose behalf

20 this filing is submitted concurs in the filing’s content and has authorized the filing.

21                                                     _/s/ Zachary L. Cowan____
                                                       Zachary L. Cowan
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     STIPULATED REQUEST FOR ORDER EXTENDING BRIEFING DEADLINES
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